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In the District Cuurt of Wyandotte County, Kansas
Limited Actions Division

Sammie Ford Case No.: i ]-M 5 LJ¢>S§( jua/y {%

Plaintiff, Division: __
vs.

Cavalry Portfolio Services LLC,

Defendant.

 

PET]TION

 

COUNT I
(Assessing and reporting
interest for which Defendant is not entitled by contract or law - Violation of the Fair
Debt Collections Practices Act - 15 U.S.C. §1692 et seq.)

Comes now Plaintifi` Sammie Ford and for Plaintiff"s petition against Defendant

Cavalry Portfolio Services LLC hereby alleges as follows:

1. Plaintiff is a natural person residing in Kansas.
2. Defendant regularly conducts business in the state of Kansas.
3. Plaintiif is a “consumer” as defined by 15 U.S.C. §1692a(2) and is alleged

to have owed a “debt” of a personal, family, or household nature, as defined by 15 U.S.C.
§l692a(5).

4, Defendant is regularly engaged in the third-party collection ot` consumer
debt and arc “dcbt collectors” as defined by the Fair Debt Colleetion Practices Act
(hereaftcr FDCPA), at U.S.C. §l692a(6).

5. Defendant is engaged in the business of purchasing and collecting

“charged-off’ consumer accounts alleged to have been originally owed to others

EXHIBIT

i §

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(hereinaf`ter “originating creditor”).

6. On April 2014, Dei`endant reported to a credit reporting agency,
Equit`ax, that it has purchased a consumer account from GE Capital Retail Bank and,
pursuant to that purchase, and Defendant now alleges that it stands in the shoes of GE
Capital Retail Bank and is entitled to enforce the account pursuant to that purchase.

7. On April 2014, Det`endant reported to a credit reporting agency,
Experian, that the amount owed was $8217.00 as of April 2014.

8. On the same credit report, the creditor from whom Defendant purported
to purchase the debt, GE Capital Retail Bank, reported that it had charged off the debt at
an amount less than $8217.00.

9. Therefore, Det`endan.t had assessed interest on the alleged debt after it

was charged off by the original creditor, GE Capital Retail Bank.

10. The Truth in Lending Act (Tll_,A) regulates the type of account at issue in
this case,
ll. TILA requires a creditor to send periodic statements to the debtor each

billing cycle it` there is an outstanding balance on an account where finance charge is
imposed. 15 Q.S.C.§ 163Z(b1.

12. 'I`hat required periodic statement must contain certain required
information which describes what and how the creditor is assessing interest and finance
charges. 1§ U,S.C. § l637tbl,

13. Consistent With 15 U.S,Q. § 1637(b), Regulation Z also requires
creditors to “rnail or deliver a periodic statement as required by |12 C.F.R. § 226.7 for

each billing cycle at the end of which an account has a debit or credit balance of more than

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$l or on which a finance charge has been imposed."' Id. at § 226.5tb) (Z)ti).

14. However, Regulation 7, provides exceptions to this requirement that
periodic statements be sent and enables creditors to not send those required periodic
statements if the creditor does certain things

15. One of those exceptions is it`the creditor has charged-off the account in

accordance With loan-loss provisions and will not charge any additional fees or interest on
the account. Id. at § 226.5(b) (2)(i]_

16. Therefore, under applicable regulations, GE Capital Retail Bank was
required to send periodic Staternents to Plaintii`f until it “charged-oft` the account in
accordance with loan-loss provisions and will not charge any additional fees or interest
on the account” 2 C.F.R. § 226.5tb)(2)111.

17. Previous to the alleged purchase of the account by the Defendant from
GE Capital Retail Bank, GE Capital Retail Bank charged-off an account alleged to have
been incurred by Plaintit`f

18. Because GE Capital Retail Bank had charged-off the account, it was
not required to send periodic statements to Plaintiff as would otherwise be required by
law.

19. Therefore after charging-off the account, GE Capital Retail Bank did
not send any billing statements regarding the account to the debtor.

20. GE Capital Retail Bank took advantage of the charge off exception to

enable it not to be required by send periodic billing statements

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21. The legal tradeof`t` t`or entitling GE Capital Retail Bank to take
advantage oi' the charge off exception is that it was precluded by law from charging any
additional i`ees or interest on the account.

22. Therefore, after the account was written off, GE Capital Retail Bank
was precluded by law from charging additional fees or interest on the account because it
had not sent out the periodic statements

23. Furthermore, GE Capital Retail Bank had therefore waived its right to
charge interest on the charged off account. Simkus v. Cavalry Porzy‘"olio Services, LLC,

2012 WL 1866542 2012,' MCDonald v. A.s'sel Accepmnce LLC, Case No. 2:1 l-cv-13080,

ED Michigan 2013.

24. Defendant professes to be in the same shoes as GE Capital Retail
Bank.

25. Defendant would not acquire any greater rights than GE Capital Retail

Bank had at the time of the alleged purchase.

26. At the time of the alleged purchase, GF. Capital Retail Bank did not
have the legal right to charge interest.

27. There is no legal basis for Defendant to charge interest on the charged-
off account for which GE Capital Retail Bank failed to maintain periodic statements

28. By assessing interest as due for which there was no legal basis,
Plaintiff violated 15 U.SC. 1692t` which prohibits a debt collector from the collection ot`
any amount (including any interest, i`ee, charge_. or expense incidental to the principal
obligation) unless such amount is expressly authorized by the agreement creating the debt

or permitted by law.

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29. By reporting that interest was due for which there was no legal basis,
Plaintiff violated 15 U.SC. 1692e(a)8 which prohibits a debt collector i`rom
communicating or threatening to communicate to any person credit information which is
known or which should be known to be false.

30. The Plaintii`f was attempting to collect a consumer debt as defined by
15 USC §16923(5) as an obligation or alleged obligation of a consumer to pay money
arising Out of a transaction in Which the money, property, insurance or services which are
the Subj ect of the transaction are primarily for personal, family, or household purposes,
whether or not such obligation has been reduced to judgment

31. The standard in determining whether the Plaintift` violated the FDCPA
is the least sophisticated consumer standard Claims should be viewed from the
perspective of a consumer whose circumstances make him relatively more susceptible to
harassment, oppression or abuse. Schweizer v. Trans Unz'rm Corp,, 136 F.3d 233_, 237
(an Cir. 1998); Swanson v. Sr)uthern Oregon Credi! Service, 869 F.2d 1222, 1225-27
(9th Cir. 1988`); ./erer v. Credz't Bureau, Inc., 760 F.Zd 1 168, 1172 -75 (l lth Cir. 1985);

Grazicmo v. Harrison, 950 F.Zd 107, lll (3d Cir. 1991).

32. The above-described acts are misleading to the least sophisticated
consumer
33. Defendant’S acts, as described above, were done intentionally with the

purpose ofcoercing Plaintifi` to pay the alleged debt.
34. As a result of the above violations of the stated Act, the Defendant is
liable to the Plaintii`ft`or actual damages; statutory damages up to $1,000.()0 pursuant to 15

U.S.C. §]692k; costs and reasonable attorney’s fees pursuant to 15 U.S.C. §16921<.

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Wl-IEREFORE, Plaintiff respectfully prays that judgment be entered against thc
Defendant for actual damages; statutory damages pursuant to 15 U.S.C. §1692k; costs and
reasonable attorney’s fees pursuant to 15 U.S.C. §1692k; and for such other and further

relief as may bejust and proper.

COUNT II
VIOL_ATION OF KANSAS CONSUMER PROTECT.ION ACT

COMES NOW Defendant, and as for Count II against Defendant, states and alleges

as follows:

35. Plaintiff incorporates herein the preceding paragraphs as though fully set
forth hereunder.

36. Plaintiff is a consumer as defined by K.S.A. §50-624(b) of the Kansas
Consumer Protection Act (KCPA).

37. Defendant is a supplier of consumer products as defined by K.S.A. §50-624
and is subject to the requirements and provisions ot` the Kansas Consumer Protection Act.

38. The transaction at issue is a consumer transaction as defined by K.S.A. §50-
624(0).

39. K.S.A §50-626 provides that “(a) No supplier shall engage in any deceptive
act or practice in connection with a consumer transaction.”

40. 'l`he above-described actions of Defendant violated section K.S,A. § 50-
626(b)(l] by falsely making representations made knowingly or with reason to know that:

(A) property or services have sponsorship approval, accessories characteristics

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ingredients uses. benefits or quantities that they do not have; and that (B) the supplier has

a sponsorship approval stcttttsl ajj‘iliatt'on or connection that the supplier does not have

41. Furthermore, K.S.A §50-627 provides that “(a) No supplier shall engage in
any unconscionable act or practice in connection with a consumer transaction. An
unconscionable act or practice violates this act whether it occurs before, during or after the
transaction."

42. ln determining whether an act or practice is unconscionable, K.S.A §50-626
provides that the Court shall consider circumstances of which the supplier knew or had
reason to know, such as, but not limited to the following that:

(I) The supplier took advantage of the inability of the consumer

reasonably to protect the consumers interests because of the consumer 's

physical in/ir‘mity, ignorance illiteracy_, inability to understand the

language of an agreement or .s'imilarfactor,' and

(6) the supplier made a misleading statement of opinion on which
the consumer was likely to rer to the consumers detriment.

43. Dei`endant’s acts and omissions as described herein are deceptive pursuant
to K.S.A. §50-626 and unconscionable pursuant to K.S.A. §50-627.

44. By virtue of the actions of Defendant, Plaintiff was aggrieved by virtue of
the imposition of some burden or obligation that federal law was designed to alleviate.

45. Defendant’s acts and omissions were willful and were part of a pattern of
deceptive and unconscionable acts and practices

46. Each act or omission described above constitutes a separate violation of the
Kansas Consumer Protection Act, K.S.A. §50-623, et seq.

47. Because ofDefendant’s deceptive acts, is an aggrieved consumer, has been

harmed, has incurred actual damages, and has incurred attorney t`eeS.

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WHEREFORE, Plaintiff respectfully prays for judgment on Count II against
Det`endant and requests the Court:
a. Award actual damages and restitution to Plaintiff;
b. lf actual damages are less than 310,000.00, award statutory damages in an
amount determined by the Court up to $10,000.00 per violation pursuant to K.S.A.
§50-634(b) and K.S‘A. §50-636 for each and every violation of the Kansas

Consumcr Protection Act;

c. Award costs and reasonable attorneys’ fees, pursuant to K.S.A. §50-634;
and
d. Such other and further relief as the Court deems just and equitable

Respectfully Submitted,
ATTORNEYS FOR PLAlNTIPF
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MICHAEL RAPP # 25702
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CLERK OF THE D|STR|CT COURTS
CASE NUMBER: 2014-LM-003683

IN THE DISTRICT COURT OF WYANDOTTE COUNTY, KANSAS
LIMITED ACTIONS DEPARTMEN'I`
Sammie Ford,

 

Plaintiff,
vs. Case Number: l4-LIVI~3 683
Cavalry Portfolio Services LLC Division: 13
Defendant.
RETURN OF SERVICE

 

(CERTIFIED MAIL SERVICE)

I hereby certify that I have served the within civil process: (1) By mailing on the 6th day
of August, 2014, a Petition and Summons in the above-captioned matter by certified mail return
receipt requested to Defendant, Cavalry Portfolio Services LLC; (2) the name and the address on
the envelope containing the process mailed by certified mail return receipt requested Werc as
follows: Cavalry Portfolio Services LLC, Registered Agent: The Corporation Company Inc., 112
SW Seventh St:reet, Suite 3C, Topeka, Kansas 66603. The original of certified mail return receipt
is attached.

Respectfully Submitted,

/s/ A.J. Stecklein
By:
A.J. Stecklein #16330
Michael H. Rapp # 25702
Consumer Legal Clinic, LLC
748 Ann Ave
Kansas Cit;y, KS 66101
Telephone: (913) 371-072'7
Facsimile: (913) 371-0147
Email: ai@kcconsumerlawver.com

mr@kcconsumerlaver.com

Attorneys for Plaintiff

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so that we can return the card to ycu.

l Attach this card to the back of the mallp!ece,
or on the front if'space permits.

1. Artic|e Addressed to:

Cavalry Portfolio Services
Registered Agent:
The Oorpol'arion Company Inc.
112 SW Seventh Street, Suite 3C
Topeka, Kansas 66603

    

  

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